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                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                                               :           MDL NO. 02179
“DEEPWATER HORIZON” in the GULF                                               :
OF MEXICO, on APRIL 20, 2010                                                  :
                                                                              :           SECTION: J
This Document Relates to 2:12-cv-01045                                        :
                                                                              :           JUDGE BARBIER
                                                                              :           MAG. JUDGE SHUSHAN
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                                                                    ORDER

            Considering Defendant’s foregoing Ex Parte Motion For Extension Of Time;

            IT IS ORDERED that Defendant’s Motion is hereby granted and the deadline by which

the responsive pleading shall be filed is extended until June 13, 2012.

            New Orleans, Louisiana, this ______ day of May, 2012.




                                                                       UNITED STATES DISTRICT JUDGE
